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                UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT
  Form 32. Response to Notice of Case Being Considered for Oral Argument
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form32instructions.pdf

9th Cir. Case Number(s)              22-55265 and 22-55296

Case Name         Mosafer, Inc. et al. v. Elliott Broidy et al.

Hearing Location (city)           Pasadena

Your Name         Mitchell A. Kamin

List the sitting dates for the three sitting months you were asked to review:
  August 14-18, 21-25; September 11-15; October 2-6, 16-20



Do you have an unresolvable conflict on any of the above dates?                                Yes      No
If yes, list the specific day(s) and the specific reason(s) you are unavailable:
  I am unavailable September 11-15 because of an arbitration that begins on
  September 11. I argued Qatar's motion to dismiss in the district court and will
  be arguing the appeal.




Do you have any other cases pending in this court for which you received a notice
of consideration for oral argument during the three sitting months listed above?
    Yes       No

If yes, list the number, name, and hearing city of each of the other case(s):




Signature      s/ Mitchell A. Kamin                                    Date May 5, 2023
(use “s/[typed name]” to sign electronically-filed documents)
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 32                                                                                        New 12/01/2018
